          Case 1:11-cv-01161-AT Document 49 Filed 03/08/13 Page 1 of 1



                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION


 DELICIA T. WILLIAMSON,
                         Plaintiff,                 CIVIL ACTION FILE
 vs.                                                NO. 1:11-cv-1161-AT
 BANK OF AMERICA, N.A.,
                         Defendant.



                                      JUDGMENT

       This action having come before the court, Honorable Amy Totenberg, United States

District Judge, for consideration of Defendant‘s Motion for Summary Judgment, and the

court having granted said motion, it is

       Ordered and Adjudged that the plaintiff take nothing; that the defendant recover

its costs of this action, and the action be, and the same hereby, is dismissed.

       Dated at Atlanta, Georgia, this 8th day of March, 2013.



                                                       JAMES N. HATTEN
                                                       CLERK OF COURT


                                                 By:   s/ Harry F. Martin
                                                       Deputy Clerk
Prepared, Filed, and Entered
in the Clerk's Office
  March 8, 2013
James N. Hatten
Clerk of Court

By: s/ Harry F. Martin
       Deputy Clerk
